Case 19-34054-sgj11 Doc 215 Filed 12/09/19 Entered 12/09/19 08:47:34 Pagelof1l

UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
824 Market Street
Wilmington, DE 19801
(302) 252-2900

Date: 12/4/19
To: United States Bankruptcy Court For The Northern District of Texas

Re: Case Name: Highland Capital Management, L.P.
Case #: 19-12239

The above-referenced case(s) has been transferred. Attached to this email is the order

transferring venue of this case to USBC, TXNB , along with all required documents.
Documents were electronically filed and can be viewed at www.deb.uscourts.gov .

Kindly acknowledge receipt of this document.

 

  

 

 

Sincerely,
Donna Capell
By: Una O'Boyle, Clerk
Deputy Clerk
I, (AA “4 Oo IC 6 de , hereby acknowledge
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C

receipt of the above Record on Transferring of case this 4 Te day of » December , 20119
Wace | OL MW ye coy DV)
eputy Clerk | : sor [)
Wor Kreader
Case tS 19-34054 in Tatas Dwision
